                     Case 1:23-cv-03562-RDM Document 7-1 Filed 12/04/23 Page 1 of 2

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                     Meta Platforms, Inc.




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                                 Y                                          &LYLO$FWLRQ1R 1:23-cv-03562
 The Federal Trade Commission, and Lina M. Khan,
Rebecca Kelly Slaughter, and Alvaro Bedoya, in their
 official capacities as Commissioners of the Federal
                   Trade Commission

                           'HIHQGDQW V


                                                     SUMMONS IN A CIVIL ACTION

7R 'HIHQGDQW¶VQDPHDQGDGGUHVV United States Attorney General
                                          U.S. Department of Jusice
                                          950 Pennsylvania Avenue, N.W.
                                          Washington, DC 20530




          $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

        :LWKLQGD\VDIWHUVHUYLFHRIWKLVVXPPRQVRQ\RX QRWFRXQWLQJWKHGD\\RXUHFHLYHGLW ²RUGD\VLI\RX
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ZKRVHQDPHDQGDGGUHVVDUH Davis Polk & Wardwell LLP
                                          James P. Rouhandeh, Michael Scheinkman, David B. Toscano, John A. Atchley III,
                                          Paul Nathanson
                                          212-450-4000
                                          450 Lexington Avenue
                                          New York, NY 10017


       ,I\RXIDLOWRUHVSRQGMXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHIGHPDQGHGLQWKHFRPSODLQW
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'DWH
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                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

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           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK QDPH
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           u ,VHUYHGWKHVXPPRQVRQ QDPHRILQGLYLGXDO                                                                        ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI QDPHRIRUJDQL]DWLRQ
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